                           Case 1:23-cv-00065-VM Document 5 Filed 01/12/23 Page 1 of 1

 Attorney or Party without Attorney:                                                                                 For Court Use Only
 Max S Roberts, Esq.
 BURSOR & FISHER, P.A.
 888 Seventh Ave
 New York, NY 10019
   Telephone No: 646.837.7150

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 Herd v Trader Joe's

 Insert name of Court, and Judicial District and Branch Court:
 USDC-Southern District of New York
     Plaintiff:   TAMAKIA HERD, individually and on behalf of all others similarly situated
 Defendant:       TRADER JOE’S COMPANY

           PROOF OF SERVICE                    Hearing Date:            Time:            Dept/Div:       Case Number:
                                                                                                         1:23-cv-00065-VM


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons in a Civil Action; Class Action Complaint; Civil Cover Sheet; Individual Practices of United
      States District Judge Victor Marrero; Special Individual Rules and Practices in Light of COVID-19 United States District Judge
      Victor Marrero

3.    a.    Party served:      TRADER JOE’S COMPANY
      b.    Person served:     Chris Mays, SOP Specialist, Paracorp, Inc., Registered Agent, authorized to accept, served under F.R.C.P.
                               Rule 4.

4.    Address where the party was served:       2804 Gateway Oaks Dr Suite 100, Sacramento, CA 95833

5.    I served the party:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Thu, Jan 12 2023 (2) at: 11:23 AM

6. Person Who Served Papers:
   a. Michael Morris (2012-33, Sacramento)                                                     d. The Fee for Service was:
   b. FIRST LEGAL
      1814 I Street
      SACRAMENTO, CA 95814
   c. (916) 444-5111




7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                01/12/2023
                                                                                    (Date)                                   (Signature)




                                                                     PROOF OF                                                              8218941
                                                                      SERVICE                                                              (361362)
